                Case 17-21541-CMB                       Doc 79         Filed 11/22/21 Entered 11/22/21 17:25:55        Desc Main
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                                              IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                  IN RE: Bruce D. Pachete a/k/a Bruce Devon                                           CHAPTER 13
                  Pachete a/k/a Devon Pachete a/k/a B.D. Pachete
                  a/k/a B. Devon Pachete                                                          BKY. NO. 17-21541 CMB
                                               Debtor(s)


                                         ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

                    To the Clerk:

                          Kindly enter my appearance on behalf of NRZ Pass-Through Trust VIII and index
                    same on the master mailing list.



                                                                 Respectfully submitted,


                                                                 /s/ ${s:1:y:_________________________}
                                                                     Maria Miksich
                                                                     22 Nov 2021, 08:16:32, EST

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